                UNITED STATES BANKRUPTCY COURT
                 EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION

 IN RE:

 SOO HOTELS, INC.,                             Chapter 11, Subchapter V
                                               Case No. 21-45708-mlo
                                               Hon. Maria L. Oxholm

                Debtor.
 _______________________________/

  STIPULATED ORDER RESOLVING SHAREHOLDER SALWAN
   ATTO’S MOTION TO DISMISS CHAPTER 11, ESTABLISHING
 MANAGEMENT OF DEBTOR’S OPERATIONS, REMOVING THE
 DEBTOR IN POSSESSION AND APPOINTING THE SUBCHAPTER
   V TRUSTEE AS TRUSTEE IN POSSESSION PURSUANT TO 11
  U.S.C. §1185 , AND GRANTING THE SUBCHAPTER V TRUSTEE
         CERTAIN POWERS PURSUANT TO 11 U.S.C. §1106


       THIS MATTER has come before the court upon the stipulation of the

 Debtor in Possession, Soo Hotels, Inc., Debtor’s 50 percent Shareholder

 Salwan Atto, the Subchapter V Trustee and the United States Trustee,

       IT IS HEREBY ORDERED as follows:

       1.      Salwan Atto’s motion to dismiss this bankruptcy case is

 withdrawn, with prejudice. This stipulated order constitutes Mr. Atto’s assent

 to the filing of the Debtor’s petition. All disclosures made in the Debtor’s

 petition do not reflect representations or disclosures of any person other than

 the Debtor and Dominic Shammami.



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      2.       Pursuant to 11 U.S.C. §1185, the Debtor in Possession is hereby

 removed and the Subchapter V Trustee, Kimberly Ross Clayson, is hereby

 appointed as the Trustee in Possession. The Trustee shall take control of

 estate assets as provided in the Code.

      3.       The Trustee shall have the additional duties set forth in 11 U.S.C.

 §1106(a)(3), (4), and (7).

      4.       On or before August 12, 2021, Shareholder Mr. Shammami shall

 produce to the Trustee a complete copy of all financial records of the Debtor

 in Mr. Shammami’s care, custody and control and which he can reasonably

 obtain from third parties who may have care, custody and control.

      5.       No later than August 9, 2021, Shareholder Mr. Shammami shall

 produce to the Trustee the Debtor’s budget for all regular budget

 expenditures, including but not limited to franchise fees, rent, payroll,

 insurance and other regularly recurring expenses which shall include the

 payment schedule and/or due dates for all payments, complete name and

 address of all payees and all other information necessary to cause timely

 payment of the Debtor’s regular operations.

      6.       Shareholder Mr. Shammami shall appear for an examination to

 be held no later than August 31, 2021, to be scheduled with notice of




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 deposition at least 7 days prior to examination and subject to continuation as

 needed by Subchapter V Trustee.

       7.      No parties other than the Trustee shall communicate with or give

 instructions regarding hotel operations to the Debtor’s general manager and

 hotel staff, unless expressly authorized to do so by the Trustee.

       8.      Mr. Shammami shall provide to the Trustee security camera

 login access and ensure that the Trustee’s login access is maintained until

 further order of the court for all cameras at the Debtor’s location and

 specifically including the front desk camera. The front desk camera shall be

 positioned to provide a complete and unobstructed view of all financial

 transactions between hotel staff and patrons.

       9.      Mr. Shammami shall provide to the Trustee login access and

 ensure login that the Trustee’s login access is maintained until further order

 of the court for the Debtor’s franchisee management software with Choice

 Hotels.

 Signed on August 5, 2021




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